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                    EXHIBIT 2
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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                                Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW                                  JURY TRIAL DEMANDED
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.


                                DECLARATION OF JANE DOE 2

         I, Jane Doe 2, declare as follows.

         1.      I am over the age of eighteen years, and the facts set forth herein are true and

  correct to the best of my personal knowledge, information, and belief.
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         2.      I am a female resident of Charlottesville, Virginia. I am a member of

  Congregation Beth Israel in Charlottesville.

         3.      My daughters are Jane Doe 1 and Jane Doe 3.

         4.      On August 12, 2017, I peacefully protested Defendants’ neo-Nazi and white

  supremacist rally in Charlottesville, along with Jane Doe 1 and Jane Doe 3.

         5.      Defendants and the other rally participants carried racist and anti-Semitic signs

  and wore Confederate insignia and Nazi swastikas. They yelled and chanted anti-Semitic and

  pro-Nazi slogans, such as “Heil Hitler,” “Jews will not replace us,” and “blood and soil.”

         6.      Later that day, a friend called to tell me that my daughter, Jane Doe 1, had been

  struck by a vehicle while she was on Fourth Street in downtown Charlottesville. We couldn’t

  reach Jane Doe 3, so my husband and I drove to the UVA Hospital. Soon Jane Doe 3 called us

  and said she was with Jane Doe 1 in the ambulance and they were being diverted to Martha

  Jefferson Hospital, so we rushed to meet them there. Outside the Emergency Room entrance I

  found Jane Doe 3, who collapsed into my arms, emotionally and physically drained. The

  hospital was on lockdown and I was not allowed inside the Emergency Room to see my

  daughter, Jane Doe 1.

         7.      My other daughter, Jane Doe 3, and I waited four hours for Jane Doe 1 to be

  released. While in the waiting room, I watched in horror as the news repeatedly played video of

  Defendant Fields driving a car into the crowd where my daughters had been.

         8.      I suffer great emotional distress as a result of the events on August 12. Since

  then, I have been unable to resume my normal life. I have spent much of my time caring for Jane

  Doe 1, due to her injuries. I also sought psychological support for myself and my family, and

  suffer from anxiety, which manifests in difficulty sleeping and focusing.



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          9.     In the aftermath of the events on August 11-12, I have met with a security expert

  and have taken steps to increase my safety and guard against further harm from Defendants and

  their supporters.

          10.    I fear that if my identity is disclosed in this action, I will be targeted by

  Defendants and/or their supporters and sympathizers because I am a plaintiff, a member of

  Congregation Beth Israel, and was a counter-protester. I am afraid that I will be subjected to

  threats, harassment, violence, and other physical and mental harm. Furthermore, if my identity is

  disclosed, the identities of my daughters, Jane Doe 1 and Jane Doe 3, are compromised. As

  victims of the car attack by Defendant Fields, my daughters have suffered physical and mental

  harm. They are fearful of being the targets of further harm.

          I declare under penalty of perjury under the laws of the United States of America that the

  above is true and correct. Executed this 13th day of November, 2017 in Charlottesville,

  Virginia.




                                                         /s/ Jane Doe 2
                                                         Jane Doe 2




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